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 1   TROUTMAN PEPPER
     HAMILTON SANDERS LLP
 2   Susan N. Nikdel, Cal. Bar No. 317921
     Susan.Nikdel@troutman.com
 3   5 Park Plaza, Suite 1400
 4   Irvine, CA 92614
     Telephone: 949.622.2700
 5   Facsimile: 949.622.2739
 6   Attorneys for Non-Party
     loanDepot.com, LLC
 7
 8                        UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
10                             SAN FRANCISCO DIVISION
11   FEDERAL TRADE COMMISSION,                     Case No. 3:23-cv-01710-AMO
12   Plaintiff,                                NOTICE OF APPEARANCE FOR
13                                             NON-PARTY LOANDEPOT.COM,
     v.                                        LLC
14                                             (L.R. 5-1(c)(2))
     INTERCONTINENTAL
15   EXCHANGE, INC. and BLACK
16   KNIGHT, INC.,

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20          Notice is hereby given that Susan N. Nikdel, of the law firm Troutman Pepper
21   Hamilton Sanders LLP, enters her appearance in this action as counsel on behalf of
22   non-party loanDepot.com, LLC. It is respectfully requested that she be served with
23   copies of all notices, pleadings, orders, and other documents filed in these
24   proceedings via CM/ECF or otherwise. The undersigned counsel certifies that she is
25   admitted to practice before this Court.
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      NOTICE OF APPEARANCE FOR NON-PARTY LOANDEPOT.COM, LLC 3:23-CV-01710
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 1   Dated:   July 31, 2023               TROUTMAN PEPPER
                                          HAMILTON SANDERS LLP
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 3
                                          By:/s/ Susan N. Nikdel
 4                                           Susan N. Nikdel
 5                                            Attorneys for Non-Party
 6                                            loanDepot.com, LLC
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